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     Aimee Wagstaff, SBN 278480
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 4

 5   Attorney for Plaintiffs
 6
                                    UNITED STATES DISTRICT COURT
 7
                               NORTHERN DISTRICT OF CALIFORNIA
 8
                                       SAN FRANCISCO DIVISION
 9

10     IN RE ROUNDUP PRODUCTS                             MDL No. 2741
       LIABILITY LITIGATION
11                                                        Case No. 16-md-02741
12                                                        WAGSTAFF DECLARATION IN
       This Document Relates To All Actions               SUPPORT OF ADMINISTRATIVE
13                                                        MOTION TO FILE UNDER SEAL
14

15

16          I, Aimee H. Wagstaff, declare:
            1.      I am a member of the executive committee of MDL 2741. I make this declaration
17
     in support of Plaintiffs’ Administrative Motion to File Under Seal filed on February 16, 2018. I
18
     have personal knowledge of the facts stated herein and, if called as a witness, I could and would
19
     competently testify thereto.
20
            2.      Plaintiffs have filed conditionally under seal portions of Plaintiffs’ Supplemental
21
     Brief Pursuant to PTO 34 as well as Exhibit Nos. 8 and 35 to Plaintiffs’ Supplemental Brief
22
     Pursuant to PTO 34 as these documents contain or reference material and information designated
23
     Confidential by Monsanto.
24
            3.      I declare under penalty of perjury that the foregoing is true and correct.
25
     Executed this 16th day of February, 2018.
26                                                 /s/ Aimee H. Wagstaff
27                                                 Aimee H. Wagstaff
28                                       -1-
           WAGSTAFF DECL. IN SUPPORT OF ADMIN. MOTION TO FILE UNDER SEAL
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 1
                                        CERTIFICATE OF SERVICE
 2
             I hereby certify that a true and correct copy of the foregoing document was filed with the
 3
     Court and electronically served through the CM-ECF system which will send a notification of
 4
     such filing to all counsel of record. .
 5

 6        DATED: February 16, 2018                     /s/ Aimee Wagstaff
                                                       ANDRUS WAGSTAFF, PC
 7                                                     Aimee H. Wagstaff, SBN 278480
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           WAGSTAFF DECL. IN SUPPORT OF ADMIN. MOTION TO FILE UNDER SEAL
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